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                       UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


 JULIE AMANDA TILTON,

        Plaintiff,

 v.                                               Case No. 8:05-cv-692-T-30TGW

 PLAYBOY ENTERTAINMENT GROUP,
 INC., et. al,

       Defendants.
 _____________________________________/

                                          ORDER

        THIS CAUSE comes before the Court upon Playboy Defendants’ Motion to Strike

 Plaintiff’s Expert Witness Disclosures & to Preclude Plaintiff’s Reliance on Expert

 Testimony (Dkt. #124), Notice of Joinder in Playboy Defendants’ Motion to Strike Plaintiff’s

 Expert Witness Disclosures and to Preclude Plaintiff’s Reliance on Expert Testimony (Dkt.

 #126), Notice of Joinder in Playboy Defendants’ Motion to Strike Plaintiff’s Expert Witness

 Disclosures and to Preclude Plaintiff’s Reliance on Expert Testimony (Dkt. #128), and

 Plaintiff’s Response tp Playboy Defendants’ Motion to Strike Plaintiff’s Expert Witness

 Disclosures & to Preclude Plaintiff’s Reliance on Expert Testimony (Dkt. #131). The Court

 having considered the motion, joinder(s), response, memoranda, and being otherwise advised

 in the premises, finds that Defendants’ motion should be granted in part and denied in part

 as stated herein.
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        Plaintiff’s original Expert Disclosure Deadline was November 8, 2006. On November

 8, 2006, Plaintiff filed a Motion for Extension of Time to Serve Expert Disclosures (Dkt.

 #105) through December 8, 2006. Although Plaintiff’s motion for extension of time was

 opposed by Defendants, the Court granted an extension through December 8, 2006. On

 Saturday, December 9, 2006, Plaintiff served untimely and incomplete expert witness

 disclosures identifying Dr. Sharon W. Cooper, MIDDLE DISTRICT as an expert witness.

 The disclosures were accompanied by an unsigned report that was purportedly prepared by

 Dr. Cooper but was not signed by her, as required by Rule 26(a)(2)(B). Additionally, the

 report did not contain Exhibits 3 and 4 as referenced in the report, as required by Rule

 26(a)(2)(B). On December 13, 2006, Plaintiff also served a copy of a psychological

 evaluation of Plaintiff by Dr. Thomas Harbin. Dr. Harbin was never disclosed as an expert

 witness and Dr. Cooper’s report does not reference the psychological evaluation of Dr.

 Harbin.

        Plaintiff claims that Dr. Cooper’s report was served late due to “staff difficulty in

 obtaining from the attorney who authorized filing the report his number to be used in filing.”

 Such excuse is nonsensical since expert disclosures are not to be filed with the Court

 pursuant to Rule 5(d). An attorney’s “filing number” is certainly not needed in order to serve

 a copy of an expert report upon the Defendants. Accordingly, the Court concludes that

 without substantial justification Plaintiff failed to disclose information required by Rule 26

 (a). Therefore, Plaintiff’s expert witness disclosures are hereby stricken.



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            Defendant’s request for further sanctions in the form of attorney’s fees and costs

 incurred in conjunction with this motion is denied.

           It is therefore ORDERED AND ADJUDGED that:

           Playboy Defendants’ Motion to Strike Plaintiff’s Expert Witness Disclosures & to

 Preclude Plaintiff’s Reliance on Expert Testimony (Dkt. #124) is GRANTED IN PART

 AND DENIED IN PART as stated herein.

           DONE and ORDERED in Tampa, Florida on January 10, 2007.




 Copies furnished to:
 Counsel/Parties of Record
 S:\Even\2005\05-cv-692.mt strike expert disclosure 124.wpd




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